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  9
 10                        UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
 11
                                SOUTHERN DIVISION
 12
 13    DISPLAY TECHNOLOGIES, LLC,                   Case No. 8:20-cv-1029-JVS-DFM
 14                     Plaintiff,   NOTICE OF SETTLEMENT
                                     PURSUANT TO L.R. 40-2 AND
 15    v.                            JOINT MOTION TO STAY ALL
                                     DEADLINES PENDING
 16    MAZDA MOTOR OF AMERICA, INC., FINALIZING OF SETTLEMENT
                                     AGREEMENT
 17              Defendants.
                                     Honorable James V. Selna
 18
 19
            Plaintiff Display Technologies, LLC and Mazda Motor Company of
 20
       America, Inc. hereby request the court to stay all current deadlines for 30 days.
 21
       The parties have reached an agreement in principal that will resolve the matter
 22
       between them. The parties need additional time to reach an agreement.
 23
       Accordingly, the parties file this joint motion for a stay of all pending
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       deadlines for 30 days, until and including October 28, 2020. This stay is not
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       sought for the purpose of delay but so that justice may be served.
 26
      Respectfully submitted,
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      Dated: September 28, 2020          SML Avvocati P.C.
  2
                                         By:   /s/
  3                                            Stephen S. Lobbin
  4                                      Attorneys for Plaintiff
  5
                                         The signatory above attests that all other
  6                                      signatories listed, and on whose behalf the
                                         filing is submitted, concur in the filing’s
  7                                      content and have authorized the filing.
  8                                      DLA Piper LLP (US)
  9                                      By:    /s/
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